Case 1:16-cv-00429-DCN Document 49 Filed 05/05/19 Page 1 of 3

UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT
Form 1. Notice of Appeal from a Judgment or Order of a
United States District Court

 

Name of U.S. District Court: District of Idaho

 

 

 

 

U.S. District Court case number:| 1:16-cv-00429-DCN

 

 

Date case was first filed in U.S. District Court:} 09/22/2016

 

 

 

Date of judgment or order you are appealing: | 04/09/2019

 

 

Fee paid for appeal? (appeal fees are paid at the U.S. District Court)

@ Yes C No C IFP was granted by U:S. District Court

 

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)

 

All Plaintiffs

 

 

Is this a cross-appeal? © Yes @ No

 

 

If Yes, what is the first appeal case number? | N/A

 

Was there a previous appeal in this case?) C Yes @ No

 

 

If Yes, what is the prior appeal case number? | N/A

 

 

Your mailing address:

 

P.O. Box L

 

 

 

 

 

 

 

 

 

 

 

 

City: |Twin Falls State: |ID Zip Code:|83303

 

 

 

 

 

Prisoner Inmate or A Number (if applicable): N/A

 

 

 

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Signature I Date 5] sari 4
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Complete AGiile with the attached representation statement in the U.S. District Court
Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 

 

 

 

 

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UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

Form 6. Representation Statement
Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.paf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
All Plaintiffs

 

 

Name(s) of counsel (if any):

Greg J. Fuller
Daniel S. Brown

 

 

 

 

 

Address: |P. O. Box L, Twin Falls, ID 83303
Telephone number(s): |208-734-1602

 

 

 

 

 

 

Email(s): |fullerlaw@cableone.net

 

 

Is counsel registered for Electronic Filing in the 9th Circuit? @ Yes © No

 

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)

Name(s) of party/parties:
All Defendants

 

 

Name(s) of counsel (if any):

Chris Kronberg
Office of the Attorney General

 

 

 

 

 

Address: |PO Box 7129, Boise, ID 83707-1129
Telephone number(s): |208-334-8813
Email(s): |chris.kronberg@itd.idaho.gov

 

 

 

 

 

 

 

To list additional parties and/or counsel, use next page.
Feedback or questions about this form? Email us at forms(@ca9.uscourts. gov

 

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Continued list of parties and counsel: (attach additional pages as necessary)

Appellants
Name(s) of party/parties:

 

 

Name(s) of counsel (if any):

 

 

 

 

 

Address:

 

 

 

Telephone number(s):

 

 

 

Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit? © Yes © No

Appellees
Name(s) of party/parties:

 

 

 

 

Name(s) of counsel (if any):

 

 

 

 

 

Address:

 

 

 

Telephone number(s):

Email(s):

 

 

 

 

 

Name(s) of party/parties:

 

 

Name(s) of counsel (if any):

 

 

 

 

 

Address:

 

 

 

Telephone number(s):

Email(s):

 

 

 

 

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Form 6 2 New 12/01/2018

 

 

 
